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STIPULATED LETTER MOTION REOUESTING A 21-DAY EXT SION OF T
DEADLINE FOR COMPLETION OF FAC'I` DISCOVERY AND CORRESPONDING
DEADLINES UNDER THE CURRENT SCHEDULING ORDER

Via CM/ECF

Honorable Denise L. Cote
United States District Court

  

Dear Judge Cote:

This letter is being jointly filed by Det`endant Alpine Seeurities Corporation (“Alpine”)
and Plaintiff Securities and Exchange Cornrnission (“SEC”) to request a twenty-one (21) day
extension to the remaining dates under the pretrial scheduling order, as set forth in greater detail
below. The grounds for the parties’ request are that the parties need additional time, until April
20, 2018, for the completion of depositions of Witnesses in order to accommodate the schedule of
the Witncsses and counsel, and because of a postponement of a deposition that was originally
scheduled for March 22, 2018 until April 19, 2018 due to inclement Weather affecting travel from
New York City. The parties have completed three depositions and have each filed dispositive
motions as of the date of this Letter Motion. The parties also request that all other scheduling
dates be extended accordingly, to accommodate the 21-day extension to fact discovery

Pursuant to the Court’s Individual Practices l.E:
l. The original due date for the close of fact discovery is March 3(), 2018.
2. This is the parties’ first request for an extension of fact discovery

3. Both parties stipulate to the extension of fact discovery and corresponding extensions
to the Pretrial Scheduling Order as stated belovv.

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If the requested extension is granted, the proposed Reviscd Pretrial Sclieduling Order Will
be as follows:

l. All fact discovery must be completed by April 20, 2018.

2. Expert reports and disclosure of expert testimony conforming to the requirements of
Rule 26(a)(2)(B), Fed. R. Civ. P., by the party bearing the burden on an issue must be
served by l\/Iay ll, 2018. ldentitication of rebuttal experts and disclosure of their
expert testimony must occur by June 1, 2018.

3. All discovery must be completed by June 22, 2018.
4. The following motion Will be Servcd by the dates indicated beloW:
Any motion for summary judgment

- Motion served by August 3, 2018
- Opposition served by August 24, 2018
- Reply served by September 7, 2018

5. ln the event no motion is iiled, the Joint Pretrial Order must be filed by August 3,
2018.

Pursuant to the Court’s Individual Practices I.E, a proposed Revised Pretrial Scheduling
Order is filed concurrently herewith The parties respectfully request that the Court approve an
extension of fact discovery and enter the proposed Revised Pretrial Selieduling Order.

Respectfully submitted,

/s/ Brent R. Baker

Brent R. Balcer (BB 8285)

Aaron D. Lebenta (pro hac vice)

Jonathan D. Bletzaclcer (pro hac vice)

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cc: Courisel of Record (via CM/ECF)

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March 21, 2018
Page 3 of3

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Electrr)n.ically signed with permission

 

